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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



THE ESTATE OF GENE B. LOKKEN,                    Civil File No. 23-CV-03514 (JRT/SGE)
GLENNETTE KELL, DARLENE
BUCKNER, CAROL CLEMENS, FRANK
CHESTER PERRY, THE ESTATE OF
JACKIE MARTIN, JOHN J. WILLIAMS,
AS TRUSTEE OF THE MILES AND
CAROLYN WILLIAMS 1993 FAMILY
TRUST, and WILLIAM HULL,
individually and on behalf of all others
similarly situated,

             Plaintiffs,

vs.

UNITEDHEALTH GROUP, INC.,
UNITED HEALTHCARE, INC.,
NAVIHEALTH, INC. and Does 1-50,
inclusive,

             Defendants.


                  MEMORANDUM IN SUPPORT OF
          UNOPPOSED MOTION FOR SUBSTITUTION OF PARTIES

      Plaintiffs bring this motion, pursuant to Fed. R. Civ. P. 25(a), to substitute Plaintiff

Frank Chester Perry.

      1. Plaintiff Frank Chester Perry (“Plaintiff”) filed the First Amended Complaint

          (ECF No. 34) against Defendants on April 5, 2024.

      2. Plaintiff’s Counsel subsequently discovered that Plaintiff passed away on

          September 7, 2024, in Salt Lake City, Utah. See Declaration of Mary Marfisee
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   (“Marfisee Decl.”) ¶ 2.

3. Plaintiff left a duly executed and witnessed Last Will and Testament dated

   November 3, 2023, naming his wife, Mary Marfisee, as the Personal

   Representative of his estate. See Marfisee Decl. ¶ 5.

4. Mr. Perry was domiciled in California at the time of his death. Id. ¶ 3. Under

   California law, Plaintiff’s filed claims are not extinguished upon his death.

   California Code of Civil Procedure provides that “a cause of action for or

   against a person is not lost by reason of the person’s death, but survives subject

   to the applicable limitations period.” Cal. Code Civ. P. § 377.20(a).

5. California law allows the decedent’s personal representative to continue this

   action on the decedent’s behalf. Cal. Code Civ. P. § 377.31.

6. Ms. Marfisee has executed and filed a declaration, under penalty of perjury,

   testifying to these facts, as required by Cal. Code Civ. P. § 377.32(a). See

   Marfisee Decl. ¶¶ 4–7.

7. A certified copy of Mr. Perry’s Certificate of Death is attached to Ms.

   Marfisee’s declaration, as required by Cal. Code Civ. P. § 377.32(c). See

   Marfisee Decl. Ex. 1.

8. Mary Marfisee, as Personal Representative of the Estate of Frank Chester

   Perry, respectfully requests that the Court to enter an order permitting her to be

   substituted as Plaintiff in this matter and continue the pending claims on behalf

   of the Estate of Frank Chester Perry.




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Dated: November 13, 2024                s/ Derek C. Waller
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